Case 2:07-cv-12799-PJD-DAS ECF No. 17, PageID.139 Filed 01/17/08 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                     Southern Division

  LISA M. SHAHEEN,
                                                    Case No. 2:07-cv-12799
            Plaintiff,
                                                    Honorable Patrick J. Duggan
  v.                                                Honorable Donald A. Scheer

  GC SERVICES LIMITED PARTNERSHIP-
  DELAWARE

           Defendant.


  Brian P. Parker (P48617)                          Michael J. Hodge (P25146)
  LAW OFFICES OF BRIAN P. PARKER, PC                Scott R. Eldridge (P66452)
  Attorney for Plaintiff                            MILLER, CANFIELD, PADDOCK AND
  30700 Telegraph Road, Suite 1580                  STONE, P.L.C.
  Bingham Farms MI 48025                            Attorneys for Defendant GC Services LP
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                                                    (517) 487-2070
                                                    email: hodge@millercanfield.com
                                                    email: eldridge@millercanfield.com



             PARTIES’ JOINT STIPULATION FOR ORDER OF DISMISSAL


            NOW COMES Lisa M. Shaheen, Plaintiff herein, and GC Services Limited

  Partnership, Defendant herein, by and through their undersigned counsel, and hereby

  stipulate as follows:

         (1) Lisa M. Shaheen hereby dismisses, with prejudice, all claims pending or
  which could have been brought in this action against GC Services Limited Partnership.

            (2)   Each party named in this stipulation shall be responsible for his/its own
  costs.

            (3) A proposed order is attached for the Court’s convenience.
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                            Respectfully submitted,
                            MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.
                            Michael J. Hodge (P25146)
                            Scott R. Eldridge (P66452)



                            By: s/ Scott R. Eldridge
                                   Scott R. Eldridge
                                   Attorneys for Defendant
                                   One Michigan Avenue, Suite 900
                                   Lansing, MI 48933
                                   (517) 487-2070
                                   email: hodge@millercanfield.com
  DATED: January 16, 2008

                            LAW OFFICES OF BRIAN P. PARKER, P.C.

                            By: s/ Brian P. Parker (by SRE w/ permission)

                                   Brian P. Parker (P48617)
                                   Attorney for Plaintiff
                                   30700 Telegraph Road, Suite 1580
                                   Bingham Farms, MI 48025
                                   (248) 642-6268
                                   lemonlaw@ameritech.net
  DATED: January 16, 2008

                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
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  LISA M. SHAHEEN,
                                              Case No. 2:07-cv-12799
        Plaintiff,
                                              Honorable Patrick J. Duggan
  v.                                          Honorable Donald A. Scheer

  GC SERVICES LIMITED PARTNERSHIP-
  DELAWARE

       Defendant.


  Brian P. Parker (P48617)                    Michael J. Hodge (P25146)
  LAW OFFICES OF BRIAN P. PARKER, PC          Scott R. Eldridge (P66452)
Case 2:07-cv-12799-PJD-DAS ECF No. 17, PageID.141 Filed 01/17/08 Page 3 of 3




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                                                  (517) 487-2070
                                                  email: hodge@millercanfield.com
                                                  email: eldridge@millercanfield.com


                                  ORDER OF DISMISSAL

         Pursuant to the parties’ stipulation:

         (1) All claims pending or which could have been brought in this action against
  GC Services Limited Partnership by Lisa M. Shaheen are hereby dismissed with
  prejudice.

         (2) Each party named herein shall be responsible for his/its own costs.


  IT IS SO ORDERED.



                                s/Patrick J. Duggan
                                Patrick J. Duggan
                                United States District Judge
  Dated: January 17, 2008
  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on January 17, 2008, by electronic and/or ordinary mail.
                                s/Marilyn Orem
                                Case Manager
